Fill in this information to identify the case:

 

Debtor 1 Michael Alan Cadden

Debtor 2 Sinead Anne Cadden
(Spouse, if filing)

United States Bankruptcy Court for the: WESTERN DISTRICT OF WASHINGTON

 

Case number _18-11362

 

 

Official Form 41081
Notice of Mortgage Payment Change 12/15

 

 

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: BANK OF AMERICA, N.A.
Court claim no. (if known): 13

Date of payment change:

Must be at least 21 days after date 05/20/2021
of this notice

 

Last 4 digits of any number you use to New total payment:
identify the debtor’s account: 5200

Ea Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?
(@ No

Ol Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

$ 197.83
Principal, interest, and escrow, if any

 

 

Current escrow payment: $ New escrow payment: $

Mortgage Payment Adjustment

 

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?
No
Ol Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
attached, explain why:

 

 

Current interest rate: % New interest rate: %

Current principal and interest payment: $ New principal and interest payment: $

Er Other Payment Change

3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

OO} No

Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change: NUMBER OF DAYS IN BILLING CYCLE HAS CHANGED

 

Current mortgage payment: $ 178.68 New mortgage payment: $ 197.83

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Debtor 1 Michael Alan Cadden

Case number (if known) _18-11362

 

First Name Middle Name

a Sign Here

Last Name

 

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and

telephone number.

Check the appropriate box.
| am the creditor.

Oo} | am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

x /s/_ Robert Burton

Date 04/27/2021

 

Title Assistant Vice President

 

 

 

Signature
Print: Robert Burton
Company Bank of America
Address 4161 Piedmont Parkway

 

Number Street

Greensboro, NC 27410

 

City

Contact phone (336) 854-6425

Official Form 410S1

Case 18-11362-TWD Doc

State ZIP Code

Email robert.burton@bofa.com

 

Notice of Mortgage Payment Change

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page 2
In re:

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON ( SEATTLE DIVISION)

Chapter: 13 No. 18-11362

Judge: TIMOTHY W. DORE

Michael Alan Cadden
Sinead Anne Cadden

Debtor(s).

CERTIFICATE OF SERVICE

| hereby certify that on 04/27/2021, | caused to be served a copy of this Notice and all attachments on the
following by U.S. Mail, postage pre-paid, or via filing with the U.S. Bankruptcy Court’s CM ECF system.

Debtor:

Co-Debtor:

Debtor's
Attorney:

Trustee:

Michael Alan Cadden
10311 Sand Point Way NE
Seattle, WA 98125-8155

Sinead Anne Cadden
10311 Sand Point Way NE
Seattle, WA 98125-8155

JACOB D DEGRAAFF
787 Maynard Ave S
Seattle, WA 98104-2987

JASON WILSON-AGUILAR
600 University St Ste 1300
Seattle, WA 98101-4102

Case 18-11362-TWD Doc Filed 04/27/21

/s/ rene Zhao

 

LCl

(as Authorized Agent for Bank of America N.A.)
111 Anza Blvd Suite 310

Burlingame, CA 94010

650.342.9486 (x250)

izhao@lciinc.com

Ent. 04/27/21 12:45:44. Pg. 30f3
